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                              UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF NEW YORK


     M.K.,

                     Petitioner,
                                                                         Case No.
     v.

     William P. JOYCE, in his official capacity as                       PETITION FOR
     Acting Field Office Director of New York,                           WRIT OF HABEAS CORPUS
     Immigration and Customs Enforcement; Caleb
     VITELLO, Acting Director, U.S. Immigration and
     Customs Enforcement; Kristi NOEM, in her official
     capacity as Secretary of the United States
     Department of Homeland Security; and Pamela
     BONDI, Attorney General, U.S. Department of
     Justice,
     .

                     Respondents.




                                             INTRODUCTION

             Petitioner, M.K., is a lawful permanent resident and student at Columbia University.

    M.K. is married to a U.S. citizen, who is pregnant with their first child and due to give birth next

    month. On March 8, 2025, agents from the Department of Homeland Security (“DHS”) arrested

    M.K. with no prior notice.

             When agents 1 arrested M.K. at his Columbia University student housing, the agents

    stated that they were detaining him because his student visa had been revoked by the U.S.

    Department of State. When M.K. showed the officers his immigration documents demonstrating

    that he is a lawful permanent resident—not a student visa holder—they arrested him anyway,


1
 On information and belief, agents from Immigration and Customs Enforcement (“ICE”), a subset of DHS, arrest and
detain noncitizens in the community.
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 saying that his green card had also been revoked, but providing no basis for the revocation.

        ICE’s arrest and detention of M.K. follow the U.S. government’s open repression of

 student activism and political speech, specifically targeting students at Columbia University for

 criticism of Israel’s assault on Gaza. The U.S. government has made clear that they will use

 immigration enforcement as a tool to suppress that speech.

        M.K. has been an outspoken activist regarding these issues. Given that there is no other

 basis for M.K.’s arrest and detention, it is clear that Respondents are engaging in blatant efforts

 to target and chill M.K.’s speech and to discriminate against particular viewpoints in

 contravention to the First Amendment and M.K.’s Due Process Rights. By detaining M.K.

 without providing a reason and perhaps based on the misunderstanding that he is a student visa

 holder rather than a lawful permanent resident, ICE’s actions violate M.K.’s rights under the

 First and Fifth Amendments of the U.S. Constitution, the INA, the Administrative Procedures

 Act, and its own federal regulations. Accordingly, this Court should declare ICE’s actions

 unlawful, enjoin his transfer outside of this District and order his immediate release.



                                              PARTIES

 1.     Petitioner M.K. is a student at Columbia University who is married to a U.S. citizen who is

 8 months pregnant. On March 8, 2025, Officers from the Department of Homeland Security arrested

 M.K. in front of his Columbia University housing.

 2.     Respondent William P. Joyce is named in his official capacity as the Acting Field Office

 Director of the New York Field Office for ICE within the United States Department of

 Homeland Security. In this capacity, he is responsible for the administration of immigration

 laws and the execution of detention and removal determinations and is a custodian of

 Petitioner. Respondent Joyce’s address is New York ICE Field Office Director, 26 Federal


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 Plaza, New York, New York 10278.

 3.     Respondent Caleb Vitello is the Acting Director of ICE. As the Senior Official

 Performing the Duties of the Director of ICE, he is responsible for the administration and

 enforcement of the immigration laws of the United States; routinely transacts business in the

 Southern District of New York; is legally responsible for pursuing any effort to remove the

 Petitioner; and as such is a custodian of the Petitioner. His address is ICE, Office of the

 Principal Legal Advisor, 500 12th St. SW, Mail Stop 5900, Washington, DC 20536-5900.

 4.     Respondent Kristi Noem is named in her official capacity as the Secretary of Homeland

 Security in the United States Department of Homeland Security. In this capacity, she is

 responsible for the administration of the immigration laws pursuant to Section 103(a) of the

 INA, 8 U.S.C. § 1103(a) (2007); routinely transacts business in the Southern District of New

 York; is legally responsible for pursuing any effort to detain and remove the Petitioner; and as

 such is a custodian of the Petitioner. Respondent Mayorkas’s address is U.S. Department of

 Homeland Security, Office of the General Counsel, 2707 Martin Luther King Jr. Ave. SE,

 Washington, DC 20528-0485.

 5.     Respondent Pamela Bondi is Attorney General of the United States. In this capacity, she

 routinely transacts business in the Southern District of New York; is responsible for the

 administration of the immigration laws pursuant to Section 103(a) of the INA, 8 U.S.C. § 1103(g)

 (2007); and as such is a custodian of the Petitioner. Respondent Bondi’s address is U.S.

 Department of Justice, 950 Pennsylvania Avenue, NW, Washington, DC 20530- 0001.

                                     JURISDICTION & VENUE

 6.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, 28 U.S.C. §

 2241, Article I, §9, cl. 2 (the Suspension Clause) and Article III of the U.S. Constitution, the

 Administrative Procedure Act, 5 U.S.C. § 701 et seq.; and 28 U.S.C. § 2201 (Declaratory

 Judgment).
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       7.     An actual and justiciable controversy exists between the parties under 28 U.S.C. § 2201,

       and this Court has authority to grant declaratory and injunctive relief. Id. §§ 2201, 2202. The

       Court has additional remedial authority under the All Writs Act, 28 U.S.C. § 1651.


       8.     Venue is proper in the Southern District of New York Under 28 U.S.C. § 2241 and 28

       U.S.C. § 1391. At the time this proceeding was initiated, M.K. was detained at 26 Federal Plaza

       in New York, New York. The petitioner has been and is presently detained at the direction of

       Mr. Joyce, and a substantial part of the events giving rise to the claims and relevant facts

       occurred within this district.

                                                     FACTS
      Background

       9.     M.K. is Palestinian, but he grew up in Syria because his grandparents were forcibly

       removed from their ancestral home in Tiberius, Palestine. Since the war in Syria, his family was

       again displaced and are now dispersed throughout Europe and West Asia.

       10.    M.K. entered the United States on a student visa in or around December 2022 in order to

       pursue a Master's degree in Public Administration from the Columbia University's School of

       International and Public Affairs (“SIPA”). M.K. completed his program in December 2024, and

       has an anticipated graduation date of May 2025.

       11.    M.K. married his U.S. citizen wife on November 16, 2023. He became a lawful

       permanent resident in 2024. M.Z. and his wife are expecting their first child together next month,

       April 2025.

      M.K.’s Student Activism and Speech on Matters of Public Concern

12.    As a Palestinian, M.K. has felt compelled to be an outspoken advocate for Palestinian human

       rights and more recently, to speak out against Israel’s genocide in Gaza and the role of

       Columbia University in financing and in other ways facilitating the genocide. M.K. is


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       committed to being a voice for his People, and calling on the rest of the world to stop providing

       weapons and support to enable the genocide in contravention with international law.

13.    Additionally, M.K. has been a mediator and negotiator, facilitating dialogue between Columbia

       University’s administration and its students. In this role, M.K. has advocated on behalf of his

       peers to be treated humanely and fairly by the University. This role has placed M.K. in the

       public eye, particularly through numerous interviews with national media outlets.

14.    Speech regarding international law, the obligations that the U.S. and Columbia University have

       under that law, the human rights of the Palestinian people, and related matters are all topics of

       public concern clearly protected by the First Amendment.

       M.K.’s Arrest by the Department of Homeland Security

15.    On the evening of March 8, 2025, at approximately 8:30 p.m., M.K. and his wife were returning to

       their Columbia University-owned apartment from a friend’s home. When they arrived at their

       apartment building, M.K. and his wife were approached by approximately four people who were

       dressed in plain clothes. All of them entered the lobby of the apartment building.

16.    When the people approached M.K. and his wife, they asked, “Are you M.K.?” When M.K.

       answered in the affirmative, the men identified themselves as being with the Department of

       Homeland Security (“DHS”) and that they have to take M.K. into custody. The agents told

       M.K.’s wife to go up to her apartment, and that if she would not leave M.K., they threatened to

       arrest her, too.

17.    M.K.’s wife retrieved M.K.’s immigration documents to show the agent that M.K. is a lawful

       permanent resident. She handed the documents to the agent, who was talking to someone on the

       phone. The agent looked confused when he saw the documents and said, “He has a green card.”

       M.K.’s wife heard the agent repeat that they were being ordered to bring M.K. in anyways.

18.    While M.K.’s wife went to their apartment, M.K. was able to place a call to his attorney, Amy


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       Greer. Attorney Greer advised M.K. to ask if the ICE agent had a warrant, and they advised that

       they did. Attorney Greer then heard a voice tell M.K. to hand him the phone. Attorney Greer

       identified herself as M.K.’s attorney and asked who she was speaking with. The agent identified

       himself as Special Agent Elvin Hernandez of Homeland Security. Attorney Greer asked if Agent

       Hernandez had a warrant, and he answered in the affirmative, stating that M.K.’s student visa had

       been revoked by the U.S. Department of State and therefore they were detaining him. Attorney

       Greer advised Agent Hernandez that M.K. is a lawful permanent resident and has the right to due

       process. Agent Hernandez responded that the Department of State had revoked M.K.’s green

       card, too, and that he would be brought in front of an immigration judge. The agent stated that he

       would be taking M.K. to 26 Federal Plaza.

19.    The agents then handcuffed M.K. and brought him outside where there were multiple vehicles

       waiting. M.K.’s wife asked for the names of the agents, their contact information, and how to

       reach them to follow up on her husband’s detention, but they only advised her that M.K. would be

       taken to 26 Federal Plaza, and otherwise refused to speak with her. They left her no business card

       or any information at all as to how to find out where her husband will be taken, on what grounds,

       or who she can contact.

                                             CLAIMS FOR RELIEF


                                         FIRST CLAIM FOR RELIEF

             RETALIATION, DISCRIMINATION, AND PRIOR RESTRAINT IN VIOLATION
              OF THE FIRST AND FIFTH AMENDMENTS AND FEDERAL REGULATIONS

       20.     Petitioner incorporates the preceding paragraphs as if fully set forth herein.

       21.     The First Amendment to the United States Constitution provides in part that “Congress

       shall make no law . . . abridging the freedom of speech . . . or the right of the people . . . to

       petition the Government for a redress of grievances.” U.S. Const. Amend. I.


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 22.    The First Amendment protects past and future speech. Fairley v. Andrews, 578 F.3d 518,

 525 (7th Cir. 2009) (“The first amendment protects speakers from threats of punishment that are

 designed to discourage future speech.”); Saleh v. City of New York, No. 06 Civ. 1007(SHS),

 2007 WL 4437167, at *3 (S.D.N.Y Dec. 17, 2007) (noting that First Amendment retaliation

 claims can be brought “alleging punishment for past speech and those complaining of

 suppression of future speech”). The First Amendment protects “[t]he rights to complain to public

 officials and to seek administrative and judicial relief.” Gagliardi v. Vill. of Pawling, 18 F.3d

 188, 194 (2d Cir. 1994). The First Amendment applies to actions taken against people in

 custody, Gill v. Pidlypchak, 389 F.3d 379 (2d Cir. 2004), and those threatened with deportation,

 Ragbir v. Homan, 923 F.3d 53, 66 (2d Cir. 2019) (internal citations omitted), cert. granted,

 remanded, and vacated sub nom. on other grounds, Pham v. Ragbir, 141 S. Ct. 227 (2020).

 23.    Speech on matters of public concern is entitled to the highest level of protection under the

 First Amendment. See, e.g., Gentile v. State Bar of Nev., 501 U.S. 1030, 1034 (1991) (“[S]peech

 critical of the exercise of the State’s power lies at the very center of the First Amendment.”).

 Moreover, government action that targets private speech based on the viewpoint taken by the

 speaker is an egregious form of content discrimination and presumptively unconstitutional. See

 Matal v. Tam, 137 S. Ct. 1744 (2017).

 24.    “To state a First Amendment retaliation claim, a plaintiff must show that: ‘(1) he has a

 right protected by the First Amendment; (2) the defendant’s actions were motivated or

 substantially caused by [the ’s] exercise of that right; and (3) the defendant’s actions caused

 [the plaintiff] some injury.’” Ragbir v. Homan, 923 F.3d 53, 66 (2d Cir. 2019) (internal

 citations omitted), cert. granted, remanded, and vacated sub nom. on other grounds, Pham v.

 Ragbir, 141 S. Ct. 227 (2020).

 25.    In addition, “the Constitution prevents governmental actors from forbidding, or


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 penalizing, speech that is protected under the first amendment ........ Threatening penalties for

 future speech goes by the name ‘prior restraint,’ and a prior restraint is the quintessential first-

 amendment violation.” Fairley, 578 F.3d at 525. To establish a claim of an unconstitutional “prior

 restraint” on future testimony, a plaintiff must show (1) that defendants presented “threats of

 punishment that are designed to discourage” the future testimony, (2) “that [plaintiff’s] potential

 testimony . . . caused the threats,” and (3) that the defendants actions caused some

 injury. Id.

 26.     M.K.’s past speech pertains to matters of prominent public concern—Israel’s war on

 Gaza and criticism of U.S. institutions that support Israel. These issues have garnered national

 attention, particularly since the Trump administration has vowed to crack down on student

 activists.

 27.     Respondents have taken adverse actions against M.K. that are motivated by his past and

 future exercise of First Amendment-protected speech, and have taken action to discourage him

 from speaking out in the future. By detaining M.K. and holding him in isolation, possibly for

 removal proceedings, Respondents threaten M.K. with the ultimate punishment for speaking out

 and discourage M.K. from speaking out in the future. If ICE eventually deports M.K.,

 Respondents will effectively prevent him speaking at all.

 28.     There is a substantial causal connection between M.K.’s protected speech and

 Respondents’ adverse actions and threats. M.K. has been outspoken in his campus activism.

 There is no other basis that ICE could possibly arrest and detain him other than as retaliation

 against his protected speech.

 29.     M.K. suffers severe and ongoing harm as a result of Respondents’ actions, including the

 unjustified isolation and silencing of his protected speech. He is not able to speak publicly about

 Israel’s continued assault on Gaza, divestment from Israel, Columbia’s treatment of student

 activists, or even how his current unlawful arrest and detention by ICE, which is a current First
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 Amendment injury. Moreover, even the threat of detention and deportation has a chilling effect

 on speech. Left undisturbed, Respondents’ action in this case would have a devastating effect on

 vital political speech, allowing a government agency to abuse noncitizens and then detain and

 maybe even deport the victims of its illegal actions.

 30.    Respondents’ actions against M.K. on the basis of his protected speech does not serve a

 compelling state interest, and is not narrowly tailored to any legitimate government interest.

 Respondents’ actions operate as a prior restraint that will prevent him from speaking out about

 government repression of political speech and student activism. Furthermore, he has been

 deprived of his liberty with no notice and opportunity to be heard on his First Amendment claim

 prior to his arrest and detention.

 31.    As a result, this Court should declare that Respondents’ retaliatory and discriminatory

 actions, including the arrest and detention of M.K., violate the First Amendment and the Due

 Process Clause of the Fifth Amendment; order the release of M.K. under reasonable conditions

 of supervision; and enter an injunction restraining Respondents from transferring M.K. outside of

 this Court’s jurisdiction, unless Respondents demonstrate that such action is untainted by

 unlawful First Amendment retaliation and discrimination.



                                      FIRST CLAIM FOR RELIEF

                              RELEASE PENDING ADJUDICATION
                                PURSUANT TO MAPP v. RENO

 32.    Petitioner repeats and re-alleges the allegations contained in the preceding

 paragraphs of this Complaint-Petition as if fully set forth herein.

 33.    This Court has the “inherent authority” to grant bail to habeas petitioners like M.K. See

 Mapp v. Reno, 241 F.3d 221, 230 (2d Cir. 2001) (holding that federal courts have inherent

 authority to set bail pending the adjudication of a habeas petition when the petition has raised

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  substantial claims and extraordinary circumstances “make the grant of bail necessary to make the

  habeas remedy effective”).

  34.    Numerous courts within the Second Circuit have ordered the release of petitioners like

  M.K. in light of their extraordinary circumstances. See, e.g., S.N.C. v. Sessions, No. 18 Civ.

  7680 (LGS), 2018 WL 6175902, at *6 (S.D.N.Y. Nov. 26, 2018) (ordering immediate release of

  petitioner pending consideration of her claim that her abrupt deportation would violate her due

  process right to an opportunity to be heard on her application); Kiaddii v. Sessions, No. 18 Civ.

  1584, at *3 (S.D.N.Y. Mar. 2, 2018) (ECF No. 9) (ordering immediate release when the

  petitioner presented evidence she may be a U.S. citizen.

  35.    Here, ICE officers informed M.K. that they were arresting him because his student visa

  was revoked. Based on this statement, it very well could be that ICE made an error and

  arrested, detained, and are currently holding M.K. in ICE detention based on a mistake.

  Release is necessary to make the remedies this civil action and petition seeks effective, in

  particular because as long as M.K. remains in ICE custody, his ability to speak freely and

  openly will be chilled. In custody, his speech is severely curtailed and controlled by ICE. He

  should not remain in ICE custody while pursuing his claims against the agency.

                                PRAYER FOR RELIEF

  WHEREFORE, Petitioner respectfully requests that this Court:

  1)     Assume jurisdiction over this matter;

  2)     Declare that Respondents’ actions to detain M.K. violate the First Amendment and

  the Due Process Clause of the Fifth Amendment;

  3)     Enjoin Respondents from transferring the Petitioner from the jurisdiction of this

  District pending these proceedings;

  4)     Order the release of Petitioner under reasonable conditions of supervision;


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  5)     Award Petitioners their costs and reasonable attorneys’ fees in this action as provided for

  by the Equal Access to Justice Act, 28 U.S.C. § 2412, FTCA, or other statute; and

  6)     Grant such further relief as the Court deems just and proper.


  Dated: March 9, 2025                                  /s/ Amy E. Greer
  New York, NY                                         Amy E. Greer, Esq.
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